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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                           for the

                                           SOUTHERN    DISTRICT
                                               __________             OF NEW YORK
                                                          District of __________

                                                             )
                                                             )
                                                             )
Genaro Perez Martinez                                        )
                            Plaintiff(s)                     )
                                                             )
                                v.                                   Civil Action No.    24-cv-2881
                                                             )
                                                             )
                                                             )
 Sana Deli Corp. d/b/a Gardenia Deli
                                                             )
 and Hassan Alborati, Ind.                                   )
                           Defendant(s)                      )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

           Sana Deli Corp. d/b/a/ Gardenia Deli
           Hassan Alborati, CEO and R/A
           404 8th Avenue
           New York, New York, 10001
          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                Justicia
                                James M.  Laboral
                                            Dore LLC
                                Daniel
                                JusticiaI.Laboral
                                           Schlade   (NY Bar # 5916697)
                                                   LLC
                                6232 N. Pulaski,
                                Attorneys           #300
                                            for Plaintiffs
                                Chicago,
                                6232       IL 60646
                                      N. Pulaski    Road, Suite 300Chicago, IL. 60646
                                773-942-9415
                                P: 773-415-4898  x 105
                                jdore@jusiticialaboral.com
                                E: dschlade@justicialaboral.com
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                        CLERK OF COURT

           04/18/2024                                                               /S/ V. BRAHIMI
Date:
                                                                                  Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
